                  Case 24-11442-MFW              Doc 207        Filed 08/05/24        Page 1 of 6




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 7

CHICKEN SOUP FOR THE SOUL                                  Case No. 24-11442 (MFW)
ENTERTAINMENT INC., et al.,1
                                                            (Jointly Administered)
                           Debtors.

                                                           Objection Deadline: At or Before Hearing
                                                           Hearing Date: August 21, 2024 at 2:00 p.m. (ET)

                                                           Re: Docket No. 202



                   MOTION FOR ENTRY OF AN ORDER AUTHORIZING
              WALMART INC. TO FILE UNDER SEAL WALMART INC.’S MOTION
              FOR AN ORDER MODIFYING THE AUTOMATIC STAY TO PERMIT
                  WALMART INC. TO REMOVE AND DISPOSE OF KIOSKS

          Walmart Inc. f/k/a Wal-Mart Stores, Inc. (“Walmart”), by and through its respective

undersigned counsel, hereby file this motion (the “Motion”) seeking entry of an order pursuant to

sections 105(a) and 107(b) of title 11 of the United States Code (the “Bankruptcy Code”), Rule

9018 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 9018-1(d)

of the Local Rules of Bankruptcy Practice and Procedures of the United States Bankruptcy Court

for the District of Delaware (the “Local Rules”), authorizing Walmart to file under seal Walmart

Inc.’s Motion for an Order Modifying the Automatic Stay to Permit Walmart Inc. to Remove and




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number (where applicable), are: 757 Film Acquisition LLC (4300); Chicken Soup for the Soul Entertainment Inc.
    (0811); Chicken Soup for the Soul Studios, LLC (9993); Chicken Soup for the Soul Television Group, LLC; Crackle
    Plus, LLC (9379); CSS AVOD Inc. (4038); CSSESIG, LLC (7150); Digital Media Enterprises LLC; Halcyon
    Studios, LLC (3312); Halcyon Television, LLC (9873); Landmark Studio Group LLC (3671); Locomotive Global,
    Inc. (2094); Pivotshare, Inc. (2165); RB Second Merger Sub LLC (0754); Redbox Automated Retail, LLC (0436);
    Redbox Entertainment, LLC (7085); Redbox Holdings, LLC (7338); Redbox Incentives LLC (1123); Redwood
    Intermediate, LLC (2733); Screen Media Films, LLC; Screen Media Ventures, LLC (2466); and TOFG LLC (0508).
    The Debtors’ corporate headquarters and service address is 132 East Putnam Avenue, Floor 2W, Cos Cob, CT 06807.



11671008v.2
               Case 24-11442-MFW               Doc 207       Filed 08/05/24        Page 2 of 6




Dispose of Kiosks (the “Stay Motion”) 2 filed contemporaneously herewith. In support of this

Motion, Walmart respectfully state as follows:

                                     JURISDICTION AND VENUE

        1.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b) and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

        2.       The statutory predicates for the relief requested herein are section 107 of the

Bankruptcy Code, Bankruptcy Rule 9018, and Local Rule 9018-1.

        3.       Further, pursuant to Local Rule 9013-1(f), Walmart hereby consents to the entry of

a final judgment or order in connection with the Motion to Seal if it is determined that this Court

cannot, absent the consent of the parties, enter such final judgment or order consistent with Article

III of the United States Constitution.

                                              BACKGROUND

        4.       The relevant factual background is set forth in the Stay Motion. Walmart hereby

incorporates the Stay Motion by reference as if it were fully set forth herein.

        5.       On August 2, 2024, the Walmart filed the Stay Motion which included the Master

Agreement with Redbox Automated Retail, LLC and correspondences related to the terms of the

Master Agreement as exhibits to the Declaration. See Docket No. 202. Walmart respectfully

submits that the Stay Motion includes sensitive confidential business information relating to a

confidential contract (the “Confidential Information”).




2
    The Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Stay
    Motion.

                                                        2
              Case 24-11442-MFW           Doc 207      Filed 08/05/24      Page 3 of 6




                                      RELIEF REQUESTED

       6.      By this Motion, pursuant to section 107(b) of the Bankruptcy Code, Rule 9018 of

the Bankruptcy Rules, and rule 9018-1 Local Rules, Walmart respectfully requests entry of an

order (the “Proposed Order”), substantially in the form attached hereto as Exhibit A, authorizing

Walmart to file the Motion.

                                       BASIS FOR RELIEF

       7.      Section 105(a) of the Bankruptcy Code codifies the inherent equitable powers of

the bankruptcy court and empowers the bankruptcy court to “issue any order, process, or judgment

that is necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a).

Section 107(b) of the Bankruptcy Code provides bankruptcy courts with the power to issue orders

that will protect entities from potential harm that may result from the disclosure of harmful matter.

See 11 U.S.C. § 107(b)(2). This section provides in relevant part: “On request of a party in interest,

the bankruptcy court shall . . . protect a person with respect to a scandalous or defamatory matter

contained in a paper filed in a case under this title.” 11 U.S.C. § 107(b).

       8.      Section 107(b) of the Bankruptcy Code provides this Court with the authority to

issue orders that will protect entities from potential harm that may result from the disclosure of

certain information. The section provides, in relevant part: “On request of a party in interest, the

bankruptcy court shall . . . protect an entity with respect to a trade secret or confidential research,

development, or commercial information . . . .” 11 U.S.C. § 107(b)(1).

       9.      Bankruptcy Rule 9018 sets forth the procedures by which a party may move for

relief under section 107(b), and provides, in relevant part, that “the court may make any order

which justice requires (1) to protect the estate or any entity in respect of a trade secret or other

confidential research, development, or commercial information.” Fed. R. Bankr. P. 9018. Local



                                                  3
             Case 24-11442-MFW             Doc 207     Filed 08/05/24   Page 4 of 6




Rule 9018-1(d) requires that a party seeking to file documents under seal file a motion requesting

such relief. Del. Bankr. L.R. 9018-1(d).

       10.     Unlike its counterpart in rule 26(c) of the Federal Rules of Civil Procedure,

section 107(b) of the Bankruptcy Code does not require an entity seeking protection thereunder to

demonstrate “good cause.” See, e.g., Video Software Dealers Ass’n v. Orion Pictures Corp. (In re

Orion Pictures Corp.), 21 F.3d 24, 28 (2d Cir. 1994); Phar-Mor, Inc. v. Defendants Named Under

Seal (In re Phar-Mor, Inc.), 191 B.R. 675, 679 (Bankr. N.D. Ohio 1995). Instead, the moving party

simply must demonstrate that the material sought to be protected satisfies one of the categories

identified in section 107(b) of the Bankruptcy Code.

       11.     Here, the Stay Motion and attached exhibits contain confidential, commercially

sensitive, economic information, including pricing terms and descriptions of Walmart and

Redbox’s contracts, and therefore satisfy one of the categories enumerated in Bankruptcy Code

section 107(b) for sealing documents. The disclosure of Walmart’s pricing terms and descriptions

could give a competitor, or other parties, an unfair advantage to the detriment of Walmart.

Additionally, the Master Agreement specifically prohibits the disclosure of the terms thereof.

Disclosing the terms of the Master Agreement would violate the confidentiality requirements of

the Master Agreement. Walmart submits that the Stay Motion and the related exhibits attached

fall within the scope of “commercial information” that must be protected pursuant to section

Bankruptcy Code section 107(b)(1). Walmart therefore believes that the relief requested is

appropriate and necessary under the circumstances.

       12.     Walmart has already filed a sealed version of the Stay Motion on the docket as

restricted documents, in accordance with CM/ECF procedures. See Docket No. 202. Additionally,




                                                4
              Case 24-11442-MFW         Doc 207      Filed 08/05/24     Page 5 of 6




consistent with the Local Rules, Walmart intends to file a proposed redacted version of the Stay

Motion publicly.

                       COMPLIANCE WITH LOCAL RULE 9018-1(d)

       13.     To the best of the knowledge, information, and belief of the undersigned counsel to

Walmart, the Stay Motion contains information that is confidential, as contemplated by Local Rule

9018-1(d). Prior to the filing of this Motion, Walmart conferred in good faith with the Chapter 7

Trustee on the filing of this Motion.

                                            NOTICE

       14.     Notice of this Motion to Seal has been provided to (a) the Office of the United

States Trustee for the District of Delaware; (b) counsel to the Debtors; (c) the Chapter 7 Trustee;

and (d) any party that requests service pursuant to Bankruptcy Rule 2002.




                               [Remainder of page intentionally left blank]




                                                5
              Case 24-11442-MFW          Doc 207   Filed 08/05/24    Page 6 of 6




       WHEREFORE, Walmart respectfully request that the Court enter an order substantially in

the form attached hereto as Exhibit A, granting the relief requested by this Motion and granting

such other relief as may be just and proper.



   Dated: August 5, 2024            Respectfully submitted,
                                    /s/ Maria Kotsiras_________________
                                    Jeremy W. Ryan (No. 4057)
                                    R. Stephen McNeill (No. 5210)
                                    Maria Kotsiras (No. 6840)
                                    POTTER ANDERSON & CORROON LLP
                                    1313 North Market Street, 6th Floor
                                    Wilmington, Delaware 19801
                                    Telephone:     (302) 984-6000
                                    Facsimile:     (302) 658-1192
                                    Email: jryan@potteranderson.com
                                           rmcneill@potteranderson.com
                                           mkotsiras@potteranderson.com

                                    Counsel for Walmart Inc.




                                               6
